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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION


                                                          Action No: 7:19CV00793
MARY BETH TRUMP
                                                          Date: 12/11/2019
vs.                                                       Judge: Michael F. Urbanski, CUSDJ
SELECT PORTFOLIO SERVICING, INC.,                         Court Reporter: none
ET AL,                                                    Deputy Clerk: Kristin Ayersman



Plaintiff Attorney(s)                             Defendant Attorney(s)
George Vogel, III                                 John Nader



                                    LIST OF WITNESSES

PLAINTIFF/GOVERNMENT:                             DEFENDANT:
1.                                                1.



PROCEEDINGS:
Pltf believes case should be remanded back to state court due to amt in controversy. Dft responds,
disagreeing. Argument. Court will enter order sending case back to state court.




Time in Court: 9:30-9:42 12m
